                    Case 3:97-cr-00082-CCC                   Document 3314              Filed 03/14/06         Page 1 of 2
sAO 245D (Rev. 12103)Judgmentin a                 Casefor Revocations
                SheetI



                                                    D STATESDISTRICT COUNT
                             For                                 District of                               PuertoRico
         I.INITED STATESOF                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                              v.                                          (For Revocation ofProbation or SupervisedRelease)


          LUIS COLLAZO-                                                   CaseNumber:                    e7-cR-82(SEC)
                                                                          USMNumber:                     54
                                                                          AFPD.FRANCISCOVALCARCEL
                                                                          Defendant'sAttomey
THE DEFENDAITIT:
X    admitted guilt to violation of                   Standard& Special Condition and2,6 and I I of the term of supervision.

n    was found in violation of                                                        after denial of guilt.

The defendantis adjudicatedguilty            theseviolations:

Violation Number                                                                                                     Violation Ended
SpecialCondition                   Failure   participate in a substanceabuse teatnent until duly discharged.         3/4/05
                                                                                                                     10/28/05;ll/23/04;
Condition#2                        Failure   report to the probation officer.                                        12/01/0s
Condition#2                        Failure   submit a written report to the probation officer.                       SinceJuly 2005
                                                                                                                     5105;6/05;7/05;8105;
Condition#6                        Failure   notify l0 days prior to any change in residence or employment.          9105;10/05
StandardCondition                             a local crime                                                          rr/12t05
Condition#11                       Failure   notify theprobationofficer within 72 hoursof beingarrested.             t!r610s

      The defendantis sentenced providedin pages2 through                      2      of thisjudgment. The sentence
                                                                                                                  is imposedpursuantto
             ReformAct of 1984
the Sentencing
!    The defendanthasnot violated            rdition(s)                            and is {ischarged as to such violation(s) condition.


           It is orderedthat the
                                                                                           I
                                             t must notifv the United Statesattornevforithis district within 30 davsof anv
changeof name, residence,or ma               addressuntil all fines.restitution.cost5.andspecialassessments    imposedbv this iudgmentare
tullylaid. If orilered to pdy resti          .,the defendantmustirotify the cburtaridUniied Statesattomeyof inateriafchangesin
econonuc cucllnxitances.

Defendant'sSoc. Sec.No.:                                                  MARCH 3.2006
                                                                          Dateof Impositionof Judgment
Defendant's Date of Birth:


                                                                          S/ SalvadorE. Casellas
                                                                          SignatureofJudge
Defendant'sResidence
                   Address:



                                                                          SALVADORE. CASELLAS,U.S. DISTRICTCOURT
                                                                          Name and Title of Judge



                                                                          MARCH 14.2006
Defendant'sMailing Address:
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AO 245D     (Rev. 12103Judgmentin a     Casefor Revocations
            Sheet2- Irnprisonment

                                                                                              Judgment-Paee-2-      of -L
DEFENDANT:                 LUIS                VILLODA
CASENUMBER:                97-CR      (s4)(sEC)

                                                      IMPRISONMENT

        The defendantis hereby itted to the custodyof theUnited StatesBureauof Prisonsto be imprisonedfor a
total term of : TWELVE (12 MONTHS.




  f]   The court makesthe                             to the Bureauof Prisons:
                                         recommendations




  X The defendant is                  to the custodyof theUnited StatesMarshal.

  n The defendantshall                  to theUnited StatesMarshalfor this distict:
       n a t                               I     a.m.    I    p.*.    on

       tr    asnotifiedby theU        StatesMarshal.

  n    The defendantshall             for serviceof sentence
                                                           at the institutiondesignated
                                                                                      by the Bureauof Prisons:

       n     before2 p.m. on

       !     asnotified by the        StatesMarshal.

       tr    asnotified by the          or PretrialServicesOffice.

                                                             RETTJRN
I haveexecutedthisjudgmentas




       Defendant delivered on

                                               with a certified copy of this judgment.




                                                                                            UNITED STATESMARSHAL


                                                                     By
                                                                                         DEPUTYUNITED STATESMARSHAL
